                  * UNITED STATES
         Case 1:16-cr-00265-LMB    DISTRICT
                                Document 175 COURT    CRIMINAL
                                             Filed 12/05/17 PageMINUTES   *
                                                                1 of 1 PageID# 1852


Date:   12/05/17          Judge: Brinkema                       Reporter:     A. Thomson
Time:   10:02am - 11:09am                                       Interpreter:
                                                                Language:
                                                                 Probation Email:
                                                                Jury Email:

UNITED STATES OF AMERICA
           v.

  NICHOLAS YOUNG                                           1:16cr265
  Defendant’s Name                                        Case Number

   Linda Moreno/Nicholas Smith                          Gordon Kromberg/John Gibbs/Evan Turgeon
  Counsel for Defendant:                                      Counsel for Government
Matter called for:
[ ] Arraignment       [ ] Pre-Indictment Plea [ ] Change of Plea [ ] Motions
[ ] Sentencing        [ ] Revocation Hearing [ ] Rule 35             [ ] Appeal (USMC)
[X] Other Status Conference
Deft appeared: [X ] in person [ ] failed to appear [X ] with Counsel [ ] without Counsel [ ] through Counsel
Filed in open court:
[ ] Information [ ] Plea Agreement [ ] Statement of Facts [ ] Waiver of Indictment [ ] Discovery Order

Arraignment & Plea:
[ ] WFA       [ ] FA      [ ] PG [ ] PNG Trial by Jury: [ ] Demanded             [ ] Waived
[ ] Days to file Motions with Argument on                  at
[ ] Deft entered Plea of Guilty as to Count(s)                     of the
[ ] Plea accepted, Guilty Count(s)
[ ] Motion for Dismissal of Count(s)                                      by [    ] US [    ] Deft
[ ] Order entered in open court              [   ] Order to follow
[ ] Deft directed to USPO for PSI--- [ ] Deft directed to cooperate with USPO for PSI
[X] Case continued to: 12/08/17 at 1:00pm          for: Charging Conference
[X] Trial continued to: 12/11/17 at 2:00pm         for: Jury Trial (Jury Selection)
[ ] Jury Trial    [ ] Bench Trial      [ ] Sentencing [ ] Status
Rule 35:
[ ] US Rule 35 motion for reduction of sentence: [ ] Granted [ ] Denied
Sentence of                      Months heretofore imposed is REDUCED to a term of

Probation/Supervised Release Revocation Hearing:
Defendant [ ] Admits [ ] Denies violations of the conditions of probation/supervised release
Court: [ ] finds [ ] does not find the defendant in violation of the conditions
[ ] Deft is committed to the custody of the BOP to serve a term of              months/days
 Case status discussed
 Deft issues raised and argued

Deft is: [X] In Custody [ ] Summons Issued      [ ] On Bond    [ ] Warrant Issued    [ ] 1st appearance

Bond Set at: $                       [ ] Unsecured [ ] Surety [ ] Personal Recognizance
[ ] Release Order Entered   [X] Deft Remanded [ ] Deft Released on Bond [ ] Deft Continued on Bond
